                           EXHIBIT H




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                UNITED STATES DISTRICT COURT
             FOR THE DISTRICT OF MASSACHUSETTS

                                                MDL Docket No. 1629
                                                Master File No. 04-10981
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IN RE: NEURONTIN MARKETING                *
       SALES PRACTICES AND                *
       PRODUCTS LIABILITY LITIGATION      *
------------------------------------------*
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THIS DOCUMENT RELATES TO:                 *
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Shearer v. Pfizer Inc, 1:07-cv-11428-WGY *
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                        TRANSCRIPT OF THE EVIDENCE
                                (Volume 3)

                BEFORE:     The Honorable William G. Young,
                                District Judge, and a Jury

APPEARANCES:

              FINKELSTEIN & PARTNERS, LLP (By Ronald
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              - and -
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              - and -
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                                               1 Courthouse Way
                                               Boston, Massachusetts
                                               April 1, 2010

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 1                You also understand that for a doctor on his own,

 2     in the exercise of his independent medical judgment to use a

 3     drug for an off-label use, is not only legal, it may be very

 4     good medicine.      Do you understand that?

 5                THE WITNESS:      Yes, I do.

 6                THE COURT:      So, we've heard statistics here, and

 7     evidently you're privy to them, of the percentage of

 8     Neurontin sales that were prescribed by doctors for

 9     off-label uses.       Have you?     Or is that part of your

10     calculation?

11                THE WITNESS:      Yes, it is.

12                THE COURT:      Well, now, now to my question.           How can

13     you tell how much of that percentage is as a result of

14     illegal marketing rather than legal doctor prescription, if

15     you can.

16                THE WITNESS:      I think the easiest way to do that is

17     to look at -- we have, we have information on the sales over

18     time of the drug for various indications.              And what the

19     judge says is correct, that a doctor is entitled to

20     prescribe an approved drug for an unapproved use in the

21     exercise of his best clinical judgment.              And what we, what I

22     did was, I looked at what do sales look like of a drug for a

23     particular indication, say bipolar, for instance, which is

24     an off-label use, before the company started marketing for,

25     started marketing for the unapproved uses of the drug.                  And

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 1     what you find is that the sales at that point are quite low.

 2     They're consistent with what we know from other evidence.

 3     There's an academic study out there that says on average for

 4     a drug you would expect typically 15 to 20 percent of the

 5     uses of the drug might be for unapproved or off-label uses.

 6     And when you look at the Neurontin sales prior to when the

 7     defendants started promoting for off-label uses, you find

 8     that roughly 15 percent of the sales in some of these

 9     off-label uses occurs.         So, that to my mind gave me an

10     indication of what you would expect in the ordinary course

11     of events; what you would expect for doctors who, let's just

12     say hypothetically there was no illegal promotion up to a

13     certain point, what would you expect to see in terms of

14     off-label usage.       And we do see low levels of off-label

15     prescriptions.      So let's just assume that all of those are

16     legitimate and that there's nothing wrong with it.

17                Then what happens is a company starts marketing

18     off-label.     And then if you look at the sales graphs, what

19     happened is there's a very dramatic increase in the

20     off-label uses, which I attribute to the effects of the

21     off-label marketing.

22                So that's -- I have sort of a before and after

23     study, before there's illegal promotion and after there's

24     illegal promotion, that gives me a sense of what's the

25     magnitude, how big is the effect of the off-label marketing.

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 1     And it's quite substantial.          It goes from 15 percent in 1994

 2     when Neurontin is first introduced, roughly 15 percent of

 3     the uses are for off-label, unapproved uses of the drug.                    So

 4     let's just assume that all of those are fine and all of

 5     those are perfectly legal.

 6                By 2002 what do you see?          You see that 94 percent

 7     of Neurontin's uses are for off-label and unapproved uses.

 8     So, as a crude measure of what's the effect of the off-label

 9     marketing, it would be the difference between the 15 percent

10     and the 94 percent.

11     Q    Dr. King, did you prepare a graph that shows Neurontin

12     sales by indication, a bar graph, on-label and off-label

13     during the years between 1995 and 2002?

14     A    Yes, I did.

15                MR. LONDON:      I would ask the technician to queue

16     that up for the Court and counsel.

17                MR. OHLEMEYER:       Your Honor, I --

18                THE COURT:      Wait a minute.       You object to this?

19                MR. OHLEMEYER:       I object on foundation.

20                THE COURT:      Wait.    All right.     Take it down, come

21     to the side bar.

22   SIDEBAR CONFERENCE, AS FOLLOWS:

23                THE COURT:      Where's his report?        He's an expert.        I

24     normally get a copy of the report because that's my anchor.

25     Have you got a copy of the report for me?

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 1                THE COURT:      I normally go to lunch.

 2                MR. OHLEMEYER:       Okay.    That's fine.

 3                THE COURT:      Do you want to argue this afternoon?

 4                MR. OHLEMEYER:       No, I just want to make, I want to

 5     make a contemporaneous objection.            I can make it in the

 6     morning to make a record.           I just don't want there to be an

 7     issue of me not making it contemporaneously.

 8                THE COURT:      And what is it?

 9                MR. OHLEMEYER:       I would like, based on, based on

10     the cross-examination of Professor King, I would like to

11     move to strike under Rule 702 because his testimony doesn't

12     assist the trier of fact in understanding the facts at

13     issue.

14                THE COURT:      Noted.     Overruled.     Thank you.

15                We'll recess.

16                THE CLERK:      All rise.     Court is in recess.

17                (Adjournment.)

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